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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

G.S., by and through his parents and next
friends, BRITTANY AND RYAN SCHWAIGERT;
S.T., by and through his parents and next friends,
EMILY TREMEL;
and on behalf of those similarly situated,

       Plaintiffs,
v.                                                          Case No. 2:21-cv-02552-SHL-atc

GOVERNOR BILL LEE, in his official
capacity as GOVERNOR OF TENNESSEE,
SHELBY COUNTY, TENNESSEE,
      Defendants.
______________________________________________________________________________

           PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION FOR
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
______________________________________________________________________________


       In reply to the Response of Defendant Governor Bill Lee in Opposition to Plaintiffs’ Motion

for Temporary Restraining Order (ECF 24), Plaintiffs respectfully state as follows:

       In defense of Executive Order No. 84, which expressly permits parents to opt their children

out of masking requirements that exist to protect all children from the threat of illness,

hospitalization, and death posed by COVID-19 Governor Lee presents four defenses, none of them

challenging his own assertion that the best way to protect children is to have them “in school with

a mask.” (ECF 1 at I.) First, the Governor argues that Plaintiffs have failed to exhaust the

administrative requirements of the Individuals with Disabilities Education Act. 1 Second, the


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  In argument Plaintiffs advised the Court that Covington v. Knox County Sch. Sys., 205 F.3d 912
(6th Cir. 2000) was applicable to this case. On June 25, 2021, the Sixth Circuit issued an opinion
in Perez v. Sturgis Pub. Sch. 2021 U.S. App. LEXIS 19004 (Jun. 25, 2021) in which it noted that
the portions of Covington upon which Plaintiffs rely are no longer valid. Accordingly, Plaintiffs


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Governor argues that the Plaintiffs lack standing because they have suffered no injury that is “fairly

traceable” to the Governor’s executive order. Third, the Governor argues that Section 504 does

not permit disparate impact claims. Finally, Defendant Lee invokes Sovereign Immunity under the

Eleventh Amendment.

   I. The claims at issue are not within the ambit of IDEA under the Fry v. Napoleon
   Community Schools analysis.

          Governor Lee attempts to recast Plaintiffs’ efforts to obtain unimpeded physical access to

school grounds and the activities, programs, and services provided thereon as a claim under the

Individuals with Disabilities Education Act (“IDEA”) in an effort to graft the administrative

exhaustion requirements applicable to the review of special education and related services onto

students who merely want to be able to walk into the building without risking illness and death.

The Governor attempts to cynically wield a provision meant to resolve disputes between school

districts and parents over the provision of special education and related services as a weapon to

deny those very school districts and parents the full panoply of tools available to protect disabled

children from COVID-19. IDEA does not impose these requirements upon all disability claims

brought by disabled children in schools, only those that are directly related to the provision of

“special education and related services.” Fry v. Napoleon Cmty. Sch., 137 S. Ct. 743, 755-56

(2017).

          In Fry, the Supreme Court rejected the idea that IDEA interposes administrative exhaustion

requirements on all ADA claims brought by students and held that in determining whether IDEA’s

exhaustion requirement applies the Court must undertake an analysis of the gravamen of plaintiff’s




do not rely on a “futility” argument, anticipating that any order based thereon would be subject to
challenge on appeal.



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complaint. Id. In doing so, the Court should ask a pair of hypothetical questions: First, “could the

plaintiff have brought essentially the same claim if the alleged conduct had occurred at a public

facility that was not a school;” and second, “could an adult at the school—say, an employee or

visitor—have pressed essentially the same grievance?” Id. at 756. Here, the answer is clearly “yes”

to both questions. Shelby County’s Health Order 25 imposes this mandate in non-educational

settings, just as all federal facilities do. Likewise, the disabilities and health issues raised by

Plaintiffs are no different than those that might be raised in an incarceration or employment context

by any person medically vulnerable to COVID-19.

       Here, the parents have not even brought suit against the Local Education Agencies, nor

have they sought that this Court impose an accommodation on them. The relief they are seeking is

to exorcise the Governor from the process. At that point, Plaintiffs do not expect that further

accommodation will be necessary because Shelby County has already indicated that it will

reinstate its mask mandate from Health Order No. 24, under which the school districts did mandate

masks for all students.

       Finally, it is worth noting that if the Court certifies the Putative Class and Subclass it will

include thousands of children who are not eligible for any relief under IDEA’s provisions because

they are not “a child with a disability” within the meaning of 20 U.S.C. § 1401(3). To be a “child

with a disability” in addition to a medical condition or disability, the student must “by reason

thereof, need[] special education and related services.” 20 USCS § 1401. A child that is

immunocompromised or that has asthma without more does not meet this definition, but is

certainly disabled within the meaning of the ADA. It would be an absurdity to suggest that a child

with asthma would have more right to relief in this instance than a child who had asthma and

autism, a clear illustration of logic of the Fry holding applied the peculiar facts of this case.




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   II. The Plaintiffs have standing because it was the Governor’s Executive Order No. 84
   that denied them access to the activities, programs, and services of their schools.

       The Court should rule that Plaintiffs’ have standing to pursue their claims under Section

504 and the ADA because (1) they have suffered an injury in fact; (2) they have demonstrated a

causal connection between that injury and Defendant Lee’s actions; and (3) the injury will be

redressed by a favorable decision from this Court. Defendant erroneously claims that Plaintiff

cannot demonstrate the second and third prongs of this analysis.

       First, Plaintiffs have demonstrated a clear causal connection between the injury in fact and

Defendant Lee’s actions.      Specifically, Plaintiffs showed at the hearing and through the

declarations submitted with their Motion for TRO that prior to the issuance of Executive Order

No. 84 they felt comfortable sending their medically at-risk children to school because of the

county-wide universal mask order that was being followed by their school districts. They also

testified that immediately after Gov. Lee’s order the schools allowed parents to file opt-out forms

for their children which put their kids immediately at risk. In response, Ms. Schwaigert, G.S.’s

mother, testified that she pulled her son out of school for a week until they could try to obtain some

reasonable modifications that would mitigate the danger Gov. Lee’s order caused. As such,

Plaintiffs have demonstrated a causal link.

       Next, Plaintiffs demonstrated that the injury caused by Governor Lee will be redressed by

a favorable decision from this Court. Specifically, the County has stated that it will enforce the

universal mask mandate county-wide if the Court grants the TRO. Accordingly, the injury will be

redressed. As such, Defendant’s contention that Plaintiffs do not have standing fails.



   III. Plaintiffs do not bring a disparate impact claim.




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         In Doe v. Blue Cross Blue Shield, the Sixth Circuit held that the Rehabilitation Act does

not permit disparate impact claims. 926 F.3d 235 (6th Cir. 2019). Plaintiffs have not brought a

disparate impact claim. Plaintiffs have expressly sought reasonable modification of their children’s

schools’ policies to permit them to have access to the activities, programs, and services as

guaranteed by the ADA and Rehabilitation Act. The schools cannot provide such reasonable

modifications because Governor Lee has tied their hands with Executive Order No. 84.

Accordingly, Plaintiffs are left with no remedy but to bring suit seeking that this Court order

Governor Lee to cease interfering with the reasonable modification processes that are required by

the ADA and the Sixth Circuit. See Anderson v. City of Blue Ash, 798 F.3d 338, 356 (6th Cir.

2015).

   IV. The ADA abrogates Eleventh Amendment Sovereign Immunity for Title II claims of
   this nature, and the Rehabilitation Act is Spending Clause legislation.

         In its final argument, Defendant argues that Plaintiffs’ claims fail because Congress’

abrogation of the States’ Eleventh Amendment sovereign immunity for purposes of Title II of the

ADA requires that Plaintiffs identify a state service, program, or activity from which they have

been excluded. (ECF 24, PageID 127.) For this proposition, Governor Lee relies on United States

v. Georgia, 546 U.S. 151 (2006), which addresses prophylactic Equal Protection claims under the

ADA, not actual violations. “No one doubts that § 5 grants Congress the power to ‘enforce . . . the

provisions’ of the Amendment by creating private remedies against the States for actual violations

of those provisions.” Id. at 158.

         Governor Lee takes the somewhat surprising position that Plaintiffs have identified no

“state service, program, or activity,” from which they have been excluded despite the fact that the

Tennessee Constitution states, “The State of Tennessee recognizes the inherent value of

education and encourages its support. The General Assembly shall provide for the maintenance,



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support and eligibility standards of a system of free public schools.” Tenn. Const. Art. XI, § 12.

In Tennessee Small School Systems v. McWherter, the Tennessee Supreme Court held:

       The Tennessee Constitution guarantees to the school children of this State the right
       to a free public education and imposes upon the General Assembly the obligation
       to maintain and support a system of free public schools that affords substantially
       equal educational opportunities to all students.

Tennessee Small School Systems v. McWherter, 894 S.W.2d 734 (Tenn. 1995) (emphasis added).

Accordingly, Plaintiffs have properly pled and demonstrated in the TRO hearing that Governor

Lee through his Executive Order No. 84 has prevented them from accessing state-guaranteed

services in the form of substantially equal educational opportunities and a free public education by

prohibiting the school districts from granting the reasonable modification necessary for them to

safely access and attend school. 2

    V. Conclusion

       For the foregoing reasons, this Court should reject Governor Lee’s defenses and GRANT

Plaintiffs’ application for a temporary restraining order.



                                     [signature on following page]




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         Even if the Eleventh Amendment ADA argument were well-taken, Section 504 is Spending
Clause legislation, and the Eleventh Amendment offers Governor Lee no shelter from its dictates.
S.S. v. E. Ky. Univ., 532 F.3d 445, 461 (6th Cir. 2008) (Moore, J., concurring).



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                                                 Respectfully Submitted,

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                              CERTIFICATE OF SERVICE


       A copy of the foregoing was served on Counsel for Defendants via the Court’s ECF
system or via email on this the 30th day of August, 2021.


                                                 /s/Brice M. Timmons




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